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13                          UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
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16
     CHRISTOPHER HOBBS,                           Civil No. 2:18-cv-00480-PSG-E
17
                      Plaintiff,                  NOTICE OF MOTION AND
18
                                                  MOTION TO STRIKE
19                    v.                          CERTIFICATION AND
                                                  SUBSTITUTION
20
     RANDALL DEVINE, an individual;
21   THE UNITED STATES OF AMERICA; Honorable Philip S. Gutierrez
     AND DOE DEFENDANTS 1-50,
22                                  Date: September 24, 2018
23             Defendants.          Time: 1:30 p.m.
                                    Crtrm: 6A
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            NOTICE OF MOTION AND MOTION TO STRIKE CERTIFICATION AND SUBSTITUTION
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 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO THE DEFENDANT:
 3         PLEASE TAKE NOTICE that on September 24, 2018 at 1:30 p.m., or as
 4   soon thereafter as counsel may be heard, in the courtroom of the Honorable Philip
 5   S. Gutierrez, located in the United States Courthouse, 350 West 1st Street, Los
 6   Angeles, CA 90012, Plaintiff Christopher Hobbs (“Plaintiff”) will and hereby does
 7   move this Court for an order striking the Certification of Scope of Federal
 8   Employment signed by David M. Harris and filed as the basis for Defendant
 9   Randall Devine’s Notice of Substitution (ECF No. 17) on June 29, 2018. Plaintiff
10   also seeks an order striking the Substitution of the United States as the defendant
11   for the California Tort claims and, accordingly, modifying the Court’s order of
12   July 3, 2018 (ECF No. 19) to remove the substitution of the United States as the
13   defendant for the California state law tort claims and striking the United States
14   from the caption.
15         This motion is based upon this notice of motion and the attached
16   memorandum of points and authorities filed and served herewith, the proposed
17   order lodged and served concurrently, the papers and records on file in this action,
18   and upon such additional evidence and arguments as may be presented to this
19   Court at the time of the hearing on this motion.
20         In accordance with C.D. Cal. Local rule 7-3, this motion is made following
21   conference of counsel which took place on July 9th, 2018 via telephone
22   conference.
23
24   Dated: July 11, 2018                   The Law Offices of Ian Wallach, PC
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                                            _/s/ Ian Wallach________________
26                                          Ian Wallach
27                                          Attorney for plaintiff

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             NOTICE OF MOTION AND MOTION TO STRIKE CERTIFICATION AND SUBSTITUTION
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2                                   I.     INTRODUCTION
 3      Plaintiff Christopher Hobbs (“Plaintiff”) brings this Bivens and California state
 4   tort claims action against Defendant Randalle Devine (“Devine”) and others,
 5   arising out of a prosecution by the Royal Thai Police instigated -- upon information
 6   and belief -- by Devine, who did so with knowledge that the actual perpetrator was
 7   someone else, who was eventually prosecuted and convicted. Plaintiff further
 8   alleges that Devine took affirmative steps to hide Devine’s involvement so as not
 9   disclose the unlawful practices and errors.
10         On June 28, 2018, The United States filed a Notice of Substitution as to the
11   state claims asserted against Devine, based on a Certification Of Scope of Federal
12   Employment provided by the United States Attorney’s Office. Plaintiff moves to
13   strike both the Certification Of Scope of Federal Employment and the substitution.
14   Plaintiff argues that that the Certification of Scope Of Federal Employment, by
15   itself, is insufficient to support the substitution of the United States as the
16   defendant, in place of Devine, for the California Tort claims.
17                                    II.    BACKGROUND
18             A. Allegations In The Complaint
19         Plaintiff alleges that Devine orchestrated an arrest by the Royal Thai Police
20   of Plaintiff, provided false information to the Royal Thai Police, and did so with
21   the knowledge that the information was false. COMPLAINT, ¶¶ 11, 12, 13.
22   Plaintiff alleged that Devine was aware of the identity of the true assailant --
23   Steven James Strike (“Strike”) -- who was eventually prosecuted in the United
24   States. Plaintiff alleges that Devine withheld this and other exculpatory
25   information from the Royal Thai Police. COMPLAINT, ¶¶ 15, 16, 33. Plaintiff
26   alleges that Devine undertook this measure to conceal Devine’s practice of using
27   minors of Thai descent to engage in relations with Americans who Devine
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             NOTICE OF MOTION AND MOTION TO STRIKE CERTIFICATION AND SUBSTITUTION
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 1   suspected were sexually assaulting minors. Plaintiff also alleges that Devine
 2   fabricated evidence and withheld exculpatory evidence to conceal Devine’s error
 3   of mistaking Plaintiff with Strike. Complaint ¶¶ 33, 34. Plaintiff further alleges
 4   that Devine took affirmative steps to hide Devine’s involvement in the prosecution
 5   of Plaintiff, and that this occurred through April of 2016. Complaint ¶¶ 47, 50.
 6   Plaintiff alleges that as a result of Devine’s misconduct, Plaintiff was wrongfully
 7   accused and prosecuted (until the matter was dismissed) for sexual assault against
 8   a minor.
 9              B. The Certification And Notice Of Substitution
10         On June 29, 2018, Defendants filed a Notice of Substitution (ECF No. 17).
11   David M. Harris, Chief of the Civil Division of the U.S Attorney’s Office,
12   provided a declaration captioned “CERTIFICATION OF FEDERAL
13   EMPLOYMENT” stating that AUSA Harris had read the complaint and that, based
14   on information available to him, Devine was acting within the course and scope of
15   his employment with the United States at all times material to the incidents alleged
16   in the Complaint.
17                             III.   STANDARD OF REVIEW
18              A. The Attorney General’s Certification Under 28 USC Section
19                2679(D)(2) Is Subject To Judicial Review	
20         The Court has the power to review a challenge to a certification under
21   Section 2679(d)(2). Meridian Int'l Logistics, Inc. v. United States, 939 F.2d 740,
22   745 (9th Cir. 1991). A scope of employment certification issued by the Attorney
23   General is subject to de novo review by the district court. Id.; Billings v. United
24   States, 57 F. 3d 797, 800 (9th Cir. 1995).
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             NOTICE OF MOTION AND MOTION TO STRIKE CERTIFICATION AND SUBSTITUTION
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 1             B. Whether The Challenged Conduct Was Undertaken In The Scope
 2                 Of Employment Turns On California Principles Of Respondeat
 3                 Superior
 4         A challenge to a certification under Section 2679(d)(2), and, specifically, as
 5   to whether the challenged conduct was undertaken in the scope of employment,
 6   will turn on California principles of Respondeat Superior. Billings, 57 F. 3rd at 800
 7   (citing Pelletier v. Fed. Home Loan Bank of San Francisco, 968 F.2d 865, 876 (9th
 8   Cir. 1992) (holding that the question whether a federal employee whose allegedly
 9   tortious conduct is the subject of a lawsuit under the Federal Tort Claims Act
10   (“FTCA”) was “acting within the scope of his office or employment” at the time of
11   the injury is to be answered according to the principles of respondeat superior of
12   the state in which the alleged tort occurred).
13         Under California Law, respondeat superior will not apply if the
14   employee substantially deviates from the employment duties for personal purposes.
15   Farmers Ins. Grp. v. Cty. of Santa Clara, 11 Cal. 4th 992, 1004–05, 906 P.2d 440,
16   449 (1995).
17         Plaintiff has alleged that Defendant Randall Devine engaged in lawless
18   conduct by hiding exculpatory evidence and fabricating inculpatory evidence.
19   Plaintiff further alleged that Devine took unlawful efforts to undermine and delay
20   Plaintiff’s efforts to understand why Plaintiff was accused and prosecuted, and to
21   conceal Devine’s involvement in the prosecution of Plaintiff. If proven, these
22   efforts would substantially deviate from Devine’s employment duties.
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             NOTICE OF MOTION AND MOTION TO STRIKE CERTIFICATION AND SUBSTITUTION
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 1                                  IV.    CONCLUSION
 2         For the reasons set forth above, the Certification of Scope of Federal
 3   Employment should be stricken; the substitution of the United States as the
 4   Defendant, as to the California Tort claims, should be stricken; and the United
 5   States should be removed from the caption in this matter.
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     Respectfully Submitted,
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 8   Dated: July 11, 2018                  The Law Offices of Ian Wallach, PC

 9                                         _/s/ Ian Wallach________________
10                                         Ian Wallach
                                           Attorney for plaintiff
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